                Case:18-18947-TBM Doc#:6 Filed:10/12/18                                            Entered:10/12/18 18:23:44 Page1 of 1


        Fill in this information to identify the case:
 Debtor name Cardel Clocktower Limited Partnership
 United States Bankruptcy Court for the: DISTRICT OF COLORADO,                                                                                   Check if this is an
                                               DENVER DIVISION
 Case number (if known):                                                                                                                             amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and           Name, telephone number Nature of claim                  Indicate if claim   Amount of claim
 complete mailing address,      and email address of   (for example, trade debts,        is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code             creditor contact       bank loans, professional         unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                       services, and government             disputed        value of collateral or setoff to calculate unsecured claim.
                                                       contracts)                                           Total claim, if            Deduction for value         Unsecured claim
                                                                                                            partially secured          of collateral or setoff
 Brian Cave Leighton                                         Legal Services                                                                                                $1,920.00
 Paisner
 PO Box 503089
 Saint Louis, MO
 63150-3089
 Clocktower at                  c/o BRC Real       Litigation                          Disputed                                                                                  $0.00
 Highlands Ranch                Estate Corporation
 Town
 Center Owner's
 Association, Inc. c/o
 9331 Commerce
 Center St Unit A1
 Highlands Ranch,
 CO 80129-1712
 Clocktower at                  c/o Advance HOA              Litigation                Disputed                                                                                  $0.00
 Highlands Ranch                Management, Inc.
 Town
 Center Owner's
 Association, Inc. c/o
 3600 S Yosemite St
 Ste 400
 Denver, CO
 80237-1816




Official form 204                               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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